            Case 1:20-cv-12192-FDS Document 1 Filed 12/10/20 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION

BARNSTABLE COUNTY MUTUAL              )
INSURANCE COMPANY, as subrogee of )
Phyllis and Edward Powers-Philie,     )
                                      )
                           Plaintiff, )
                                      )
                    v.                )        Case No.:
                                      )
WHIRLPOOL CORPORATION,                )
                                      )
                        Defendant.    )

                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Whirlpool Corporation

(“Whirlpool”), expressly reserving all rights otherwise to respond to this lawsuit, hereby removes

the above-captioned case, which was filed in the Superior Court of Barnstable County,

Massachusetts, as Case No. 2072CV00444, to the United States District Court for the District of

Massachusetts.

                                  PROCEDURAL HISTORY

       1.      This case is a civil action filed on or about November 13, 2020, in the Superior

Court of Barnstable County, styled Barnstable County Mutual Insurance Company a/s/o Phyllis

& Edward Powers-Philie v. Whirlpool Corporation, Case No. 2072CV00444. Whirlpool was

served with the Summons and Complaint on December 1, 2020.

       2.      Removal is timely under 28 U.S.C. § 1446(b). Whirlpool has filed this Notice of

Removal within thirty (30) days of service of the Summons and Complaint.
              Case 1:20-cv-12192-FDS Document 1 Filed 12/10/20 Page 2 of 5




         3.       Removal to this Court is proper because the District of Massachusetts, Boston

Division is the district and division embracing the place (Barnstable County, Massachusetts) where

the action was filed. 28 U.S.C. § 1441(a).

         4.       As required by 28 U.S.C. § 1446(a), Whirlpool has attached to this notice “a copy

of all process, pleadings, and orders served upon” it. See Exhibit A.

         5.       Upon filing this Notice of Removal, Whirlpool will provide written notification to

Plaintiff’s counsel and will file a Notice of Filing Notice of Removal (attaching a copy of this

Notice of Removal) with the Superior Court of Barnstable County.

                                     CITIZENSHIP OF THE PARTIES

         6.       Plaintiff, Barnstable County Mutual Insurance Company, as subrogee of Phyllis

and Edward Powers-Philie (“Plaintiff”), is a corporation organized and existing under the laws of

Massachusetts, with its principal place of business in Massachusetts. See Complaint, at ¶ 1.

Therefore, Plaintiff is a citizen of the commonwealth of Massachusetts. 1

         7.       Whirlpool is a corporation organized and existing under the laws of Delaware, with

its principal place of business in Michigan. Therefore, Whirlpool is a citizen of the states of

Delaware and Michigan. See Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010) (holding that a

corporation is a citizen of its place of incorporation and its “principal place of business,” which is

“the actual center of direction, control, and coordination” of the corporation’s activities).

         8.       Therefore, Plaintiff and Whirlpool are citizens of different states and complete

diversity of citizenship for purposes of removal exists.




1
 While not real parties in interest for purposes of determining diversity jurisdiction, Plaintiff’s subrogors, Phyllis and
Edward Powers-Philie, are also citizens of Massachusetts. See Complaint, at ¶ 2. See “Diversity between parties
depends on the citizenship of the subrogee []—not the subrogor [].” Metropolitan Prop. & Cas. Ins. Co. v. Pest Doctor
Systems, Inc., 2015 WL 4945767, No. 3:14-cv-143, at *1 n. 1 (Aug. 20, 2015 S.D. Ohio) (citing Cont’l Cas. Co. v.
Ohio Edison Co., 126 F.2d 423, 425-26 (6th Cir. 1942)).
            Case 1:20-cv-12192-FDS Document 1 Filed 12/10/20 Page 3 of 5




                JURISDICTION EXISTS PURSUANT TO 28 U.S.C. § 1332

       9.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1332 and 1446(b)

because (1) there is complete diversity of citizenship between Plaintiff and Whirlpool , and (2) the

amount in controversy exceeds $75,000, exclusive of interest and costs.

       10.     As set forth in the immediately preceding section, this case involves “citizens of

different States.” See 28 U.S.C. § 1441(b).

       11.     Plaintiff seeks damages in the amount of $169,931.57. See Civil Action Cover

Sheet filed with Plaintiff’s Complaint.

       12.     Thus, the amount in controversy in this matter exceeds $75,000, exclusive of

interest and costs, as required by 28 U.S.C. § 1332(a).

       13.     Removal of this action is not prohibited by 28 U.S.C. § 1445.

                                TIMELINESS OF REMOVAL

       14.     Whirlpool filed this Notice of Removal within thirty (30) days of the date it was

served with this removable action, and within the time prescribed for filing this Notice of Removal

under 28 U.S.C. § 1446.
          Case 1:20-cv-12192-FDS Document 1 Filed 12/10/20 Page 4 of 5




                                       CONCLUSION

       For the foregoing reasons, Defendant Whirlpool Corporation removes this action from the

Superior Court of Barnstable County, Massachusetts, to the United States District Court for the

District of Massachusetts, Boston Division.


Dated: December 10, 2020
                                                   The Defendant,
                                                   WHIRLPOOL CORPORATION

                                                   ____________________________
                                                   John F. Rooney, III, BBO#426895
                                                   Robert T. Treat, BBO#548530
                                                   Melick & Porter, LLP
                                                   Boston, MA 02109
                                                   Telephone:    (617) 523-6200
                                                   Facsimile:    (617) 523-8130
                                                   jrooney@melicklaw.com
                                                   rtreat@melicklaw.com
           Case 1:20-cv-12192-FDS Document 1 Filed 12/10/20 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of December, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all counsel of record by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.

James T. Buchanan
Thomas Reis
Buchanan & Associates
124 Washington Street, Suite 303
Foxboro, MA 02035
Telephone: (781) 255-0330
Facsimile:   (781) 255-0339
jtb@buchananassoc.com
Thomas.reis@buchananassoc.com

Counsel for Plaintiff


                                                       _____________________________
                                                       Robert T. Treat
